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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                           Case No.: 23−12065−MBK
                                           Chapter: 7
                                           Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Ioana Nedelcu
   P.O. Box 207
   Trenton, NJ 08602
Social Security No.:
   xxx−xx−7054
Employer's Tax I.D. No.:


                                     CERTIFICATION OF NO OBJECTION




     I Gary A. Nau , Deputy Clerk hereby certify that there have been no objections filed relative to the Notice of
Proposed Abandonment:

Description of Property (if applicable):

Residential Property in Potlogi Commune, Dambovita County, Romania.




Dated: January 19, 2024
JAN: gan

                                                                       Jeanne Naughton
                                                                       Clerk
